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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

LUIS TEJERO                                             §
                                                        §
        Plaintiff,                                      §
                                                        §       Case No. 1:16-CV-00767-SS
v.                                                      §
                                                        §       Hon. Judge Sam Sparks
PORTFOLIO RECOVERY ASSOCIATES,                          §
LLC and WESTERN SURETY COMPANY,                         §
                                                        §
        Defendants.                                     §


                       Plaintiff’s Final Notice of Settlement Status Report


     1. This Court ordered parties to submit a Final Notice of Settlement on April 2, 2018. (Dkt.

        #52).

     2. Plaintiff is still evaluating his response, if any, to the Court’s April 2, 2018 sanctions

        order and will amend his status report as necessary before the docket call set for April 26,

        2018 to include any pending issues.




                                                              Dated: April 18, 2018


                                                              By: /s/ Celetha Chatman

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                                CERTIFICATE OF SERVICE

        I, Celetha C. Chatman, an attorney, hereby certify that on April 18, 2018, I electronically

filed the foregoing document using the CM/ECF system, which will send notification of such filing

to all attorneys of record.

Dated: April 18, 2018                                        Respectfully submitted,


                                                             By:    /s/ Celetha C. Chatman


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